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8                         UNITED STATES DISTRICT COURT
9                        EASTERN DISTRICT OF CALIFORNIA
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12   UNITED STATES OF AMERICA,           CIV. NO. 2:96-350 WBS
13                 Plaintiff,             ORDER RE: MOTIONS TO DISMISS
                                          SUPERSEDING INDICTMENT
14          v.
15   JOHN THAT LUONG, et al.,
16                  Defendants.
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19               Defendants John That Luong, Ping Sherry Chan, Paul Minh

20   Chan, and Lisa Le Chan move to dismiss the charges against them

21   in the Superseding Indictment for violation of the Speedy Trial

22   Act.

23               “The Speedy Trial Act provides that trial shall

24   commence no later than seventy days from indictment or first

25   appearance in court, whichever is later, unless time is excluded

26   from the calculation for various reasons such as filing and

27   deciding pretrial motions.”      United States v. Chen Chiang Liu,

28   631 F.3d 993, 996 n.2 (9th Cir. 2011); see 18 U.S.C. §

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1    3161(c)(1).     If a defendant is not brought to trial within the

2    time required by the Speedy Trial Act, “the information or

3    indictment shall be dismissed on motion of the defendant.”           18

4    U.S.C. § 3162(a)(2). (Emphasis added.)

5                The Indictment in this case was filed almost nineteen

6    years ago, with the Superseding Indictment filed almost seventeen

7    years ago.     There has been no finding of excludable time since

8    2007.     Under these circumstances, the Speedy Trial Act cries out

9    for dismissal.    The court, however, is required to go further and

10   to determine whether the dismissal should be with or without

11   prejudice.     See United States v. Taylor, 487 U.S. 326, 336

12   (1988).

13               “In determining whether to dismiss the case with or

14   without prejudice, the court shall consider, among others, each

15   of the following factors: the seriousness of the offense; the

16   facts and circumstances of the case which led to the dismissal;

17   and the impact of a reprosecution on the administration of this

18   chapter and on the administration of justice.”         18 U.S.C. §

19   3162(a)(2). ; see also United States v. Medina, 524 F.3d 974, 981

20   (9th Cir. 2008) (“If the defendant carries this burden, the
21   indictment ‘shall be dismissed,’ and the district court must then

22   consider whether to dismiss the case with or without prejudice. .

23   . . A court abuses its discretion if it ‘failed to consider all

24   the factors relevant to the choice’ and the ‘factors it did rely

25   on were unsupported by factual findings or evidence in the

26   record.’” (quoting Taylor, 487 U.S. at 344)).
27               First, the court considers the crimes of money

28   laundering in violation of 18 U.S.C. §§ 1956 and 1957 charged in
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1    the Superseding Indictment to be serious offenses.          Second, the

2    facts and circumstances which led to the dismissal are simply as

3    outlined above.    The case was allowed to lie dormant for almost

4    19 years, with no finding of excludable time for at least the

5    last eight of those years.      To say what went on behind the scenes

6    beyond that would be no more than speculation or hearsay.           The

7    court can be no more specific in its finding than that.           Third,

8    the court cannot discern what prejudice would occur to the

9    government from a dismissal with prejudice, as it is difficult to

10   imagine how these charges could be refiled without running afoul

11   of the statute of limitations.      The court fails to see how

12   dismissal of this matter without prejudice would assist the

13   victims as argued by the United States Attorney.

14               IT IS THEREFORE ORDERED that the charges against John

15   That Luong, Ping Sherry Chan, Paul Minh Chan, and Lisa Le Chan in

16   the Superseding Indictment in this case be, and the same hereby

17   are, DISMISSED WITH PREJUDICE.

18   Dated:   February 26, 2015

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